     Case: 1:18-cv-05878 Document #: 73 Filed: 11/08/19 Page 1 of 3 PageID #:7526




                            IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                           Case No.: 18-cv-5878

v.                                                            Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                           Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on November 1, 2018 [42] and

November 15, 2018 [48], in favor of Plaintiffs and against the Defendants Identified in Amended

Schedule A. Plaintiffs acknowledge payment of an agreed upon damages amount, costs, and

interest and desires to release this judgment and hereby fully and completely satisfy the same as

to the following Defendant(s):

                      No.                      Defendant
                      672                         weuish
                      751                  zhangyuanyuan520
                      197                        accmerry
                      764                      zhouxin22
                      802                         hongme
                      566          Shanghai Baocheng Lighting Co., Ltd
                      515                          Ouchi
                      258                        Buyusee
                      471                       Maxshine
                      405                       jiuyuetian
                      389                      iomaxmall
                      825                          Sarora
    Case: 1:18-cv-05878 Document #: 73 Filed: 11/08/19 Page 2 of 3 PageID #:7526




       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




                                                2
    Case: 1:18-cv-05878 Document #: 73 Filed: 11/08/19 Page 3 of 3 PageID #:7526




DATED: November 8, 2019                            Respectfully submitted,




                                                       ling Jiang
                                                   JiangIP LLC
                                                   111 West Jackson Blvd.
                                                   Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6297
                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this 8th day of November, 2019.

Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
